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                      UNITED STATES DISTRICT COURT

                          DISTRICT OF NEW JERSEY

KEVAN PFEIFER, Individually and on )         No.
Behalf of All Others Similarly Situated, )
                                         )   CLASS ACTION
                         Plaintiff,      )
                                         )   COMPLAINT FOR VIOLATIONS OF
      vs.                                    THE FEDERAL SECURITIES LAWS
                                         )
GERON CORPORATION, JOHN A. )
SCARLETT and OLIVIA K. BLOOM, )
                                         )
                         Defendants. )
                                         )   DEMAND FOR JURY TRIAL
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      Plaintiff Kevan Pfeifer individually and on behalf of all others similarly

situated, by plaintiff’s undersigned attorneys, for plaintiff’s complaint against

defendants, alleges the following based upon personal knowledge as to plaintiff and

plaintiff’s own acts and upon information and belief as to all other matters based on

the investigation conducted by and through plaintiff’s attorneys, which included,

among other things, a review of Securities and Exchange Commission (“SEC”)

filings by Geron Corporation (“Geron” or the “Company”), as well as conference

call transcripts and media and analyst reports about the Company. Plaintiff believes

that substantial evidentiary support will exist for the allegations set forth herein after

a reasonable opportunity for discovery.

                            NATURE OF THE ACTION

      1.     This is a securities class action on behalf of all purchasers of Geron

securities between March 19, 2018 and September 26, 2018, inclusive (the “Class

Period”), seeking to pursue remedies under the Securities Exchange Act of 1934

(“1934 Act”). These claims are asserted against Geron and the Company’s President

and Chief Executive Officer (“CEO”), John A. Scarlett (“Scarlett”), and Chief

Financial Officer (“CFO”), Olivia K. Bloom, who made materially false and

misleading public statements during the Class Period.




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      2.     Geron is a clinical-stage biopharmaceutical company focused on the

development of a telomerase inhibitor, imetelstat, for the treatment of hematologic

myeloid malignancies.

      3.     Geron partnered with Janssen Biotech Inc. (“Janssen”), a division of

Johnson & Johnson, for the development of imetelstat. During the Class Period,

Janssen had the option regarding whether or not to continue this partnership. If

Janssen decided to continue with the collaboration, it would owe Geron an upfront

payment of $65 million, with hundreds of millions of dollars in additional milestone

payments possible.

      4.     Janssen would make its decision based in part on the results of the

IMbark Phase 2 trial. Janssen was conducting that trial under the supervision of the

Joint Steering Committee (“JSC”) consisting of both Geron and Janssen employees.

The JSC conducted an internal, nonpublic review of the IMbark results in March

2018. That review, as well as earlier results, showed that IMbark was a failure.

      5.     The two primary endpoints for the study, the results that would

determine whether the study was successful or not, were (i) the spleen response rate,

which measured the reduction in spleen swelling, and (ii) a composite of various

symptoms called the Total Symptom Score (“TSS”). In order for IMbark to succeed,

patients in the study needed to show at least a 35% reduction in spleen volume and

a minimum 50% reduction in TSS.



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      6.     The actual results of the IMbark study were a disappointing spleen

response rate of 10% and a reduction in TSS of 32% – far below the results required

for success. These poor results undermined the future revenue potential of imetelstat

and the viability of Geron’s continued partnership with Janssen.

      7.     On March 19, 2018, Geron held a conference call with investors,

analysts, and the media wherein defendant Scarlett discussed the median overall

survival of patients in the IMbark study, one of the study’s secondary endpoints.

Generally, a median value is that which separates the lower half and upper half of a

data set. In this context, it referred to the amount of time that elapsed before half of

the patients in the study had passed away. Scarlett announced that the median overall

survival had not been reached after 19 months, meaning that the final median would

necessarily be greater than 19 months. He further claimed that, by comparison, an

analysis of “real world” data showed that patients with myelofibrosis who

discontinued or no longer responded to their medication showed median overall

survival of seven months. Scarlett thus suggested that the IMbark study supported

the conclusion that imetelstat lengthened the lives of patients with myelofibrosis.

However, Scarlett failed to disclose the failure to reach the primary endpoints of the

study: namely, spleen response rates and reductions in TSS.




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      8.     Throughout the Class Period, defendants misled investors regarding

imetelstat and the results from the IMbark trial. Specifically, defendants concealed

material information and/or failed to disclose that:

             (a)      the March 2018 JSC internal study review and earlier end-point

data, which had been gathered since at least April 2017, had demonstrated that the

IMbark study failed to achieve its primary endpoints related to reductions in spleen

volume and TSS;

             (b)      the secondary outcome measures and survival rates defendants

chose to selectively publicize did not overcome the failure of the IMbark study to

achieve its primary endpoints;

             (c)      as a result, there was a significantly increased risk and high

likelihood that Janssen would decline to continue its collaboration with Geron on

imetelstat development; and

             (d)      as a result, defendants’ positive statements regarding imetelstat

and the IMbark trial during the Class Period were false and misleading and/or lacked

a reasonable basis.

      9.     On March 27, 2018, Adam Feuerstein (“Feuerstein”), a veteran biotech

journalist, published an article questioning the results of the IMbark trial and calling

on defendants to disclose IMbark’s primary endpoint data in order to help investors

evaluate defendants’ claims.



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      10.    On this news, the price of Geron common stock declined 29% over two

trading days on abnormally high trading volume.

      11.    Then, on September 27, 2018, defendants issued a press release that

contained the full results of the IMbark study. In order for the study to be considered

successful, it required at least a 35% reduction in spleen volume in patients taking

the drug. The actual result was 10%. Similarly, the study required patients taking

the drug to show at least a 50% reduction in TSS. The actual reduction was 32%.

As such, the IMbark study by its own terms was a failure. Additionally, defendants

further announced that Janssen had decided to terminate its partnership with Geron.

      12.    As a result of these disclosures, the price of Geron common stock

plummeted $3.92 per share to close at $2.31 per share on September 27, 2018, a

decline of 63%.

      13.    As a result of the fraudulent conduct alleged herein, plaintiff and other

members of the Class (defined below) purchased Geron securities at artificially

inflated prices and suffered significant losses and damages.

                         JURISDICTION AND VENUE

      14.    The claims asserted herein arise under and pursuant to §§10(b) and

20(a) of the 1934 Act, 15 U.S.C. §§78j(b) and 78t(a), and Rule 10b-5, 17 C.F.R.

§240.10b-5, promulgated thereunder by the SEC.




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      15.    This Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. §1331 and §27 of the 1934 Act.

      16.    Venue is proper in this District pursuant to §27 of the 1934 Act and 28

U.S.C. §1391(b). Many of the acts charged herein, including the dissemination of

materially false and misleading information, occurred in substantial part in this

District. The Company maintains primary offices in Parsippany, New Jersey, and

has slated this location for business development and commercial operations related

to imetelstat.

      17.    In connection with the acts alleged in this complaint, defendants,

directly or indirectly, used the means and instrumentalities of interstate commerce,

including, but not limited to, the mails, interstate telephone communications, and the

facilities of the national securities markets.

                                      PARTIES

      18.    Plaintiff Kevan Pfeifer, as set forth in the accompanying Certification,

which is incorporated by reference herein, purchased Geron securities during the

Class Period and has been damaged thereby.

      19.    Defendant Geron Corporation is a biopharmaceutical company. The

Company’s common stock trades on the NASDAQ, under the ticker symbol

“GERN.”




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      20.   Defendant John A. Scarlett was, at all relevant times, CEO and

President of the Company. In December 2018 he was also appointed Chairman of

Geron’s Board of Directors.

      21.   Defendant Olivia K. Bloom (“Bloom”) was, at all relevant times,

Geron’s CFO.

      22.   During the Class Period, the Individual Defendants ran the Company

as hands-on managers overseeing Geron’s operations and finances. The Individual

Defendants had intimate knowledge about core aspects of Geron’s financial and

business operations, data from the Company’s IMbark trial, status of the Janssen

partnership, and the commercial viability of imetelstat. They were also intimately

involved in deciding which disclosures would be made by Geron. Because of their

positions and access to material non-public information available to them, the

Individual Defendants knew that the adverse facts specified herein had not been

disclosed to, and were being concealed from, the public, and that the positive

representations that were being made were then materially false and/or misleading.

The Individual Defendants, because of their positions with Geron, possessed the

power and authority to control the contents of the Company’s reports to the SEC,

press releases, and presentations to securities analysts, money and portfolio

managers, and institutional investors. The Individual Defendants were provided

with copies of the Company’s reports and press releases alleged herein to be



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misleading prior to, or shortly after, their issuance and had the ability and

opportunity to prevent their issuance or cause them to be corrected.

            FRAUDULENT SCHEME AND COURSE OF BUSINESS

      23.    Defendants are liable for making false statements and/or failing to

disclose adverse facts known to them about Geron. Defendants’ fraudulent scheme

and course of business that operated as a fraud or deceit on purchasers of Geron

securities was a success, as it: (a) deceived the investing public regarding Geron’s

business and operations; and (b) caused plaintiff and other members of the Class to

purchase Geron securities at artificially inflated prices.

                                  BACKGROUND

      24.    Imetelstat was Geron’s sole product candidate. Defendant Scarlett has

stated that “Geron has one major asset, which is imetelstat.” Imetelstat was hoped

to inhibit telomerase, a ribonucleoprotein implicated in cell death and longevity that

is found in most cancer cells, as a potential means for treating certain blood cancers.

The Company was developing imetelstat with Janssen pursuant to a Collaboration

and License Agreement (“CLA”). The CLA became effective on December 15,

2014, upon which Geron received a $35 million upfront payment from Janssen.

      25.    Under the CLA, Janssen was granted the exclusive rights to develop

and commercialize imetelstat worldwide for all indications in oncology, including

hematologic myeloid malignancies, and all other human therapeutic uses. Janssen



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was wholly responsible for developing, manufacturing, seeking regulatory approval

for, and commercialization of, imetelstat.

      26.    At the start of the Class Period, Janssen was conducting two clinical

trials of imetelstat: (i) IMbark, a Phase 2 trial in myelofibrosis (“MF”); and (ii)

IMerge, a Phase 2/3 trial in myelodysplastic syndrome (“MDS”). Pursuant to the

CLA, Geron contributed 50% of the development costs for these trials.

      27.    The IMbark trial for imetelstat, although conducted by Janssen, was

supervised by the JSC, which, pursuant to the CLA, comprised three Geron

employees and three Janssen employees. The co-primary efficacy endpoints for the

IMbark trial were spleen response rate, defined as the proportion of patients who

achieve a greater than or equal to 35% reduction in spleen volume assessed by

imaging; and symptom response rate, defined as the proportion of patients who

achieve a greater than or equal to 50% reduction in TSS, at 24 weeks. The study

also had 14 secondary outcome measures, the fifth of which was overall survival.

      28.    The first patient was enrolled in IMbark in September 2015 and the last

was enrolled in October 2016. Because the final spleen volume reduction and

symptom scores were measured after patients had been taking the drug for 24 weeks,

the data regarding these endpoints was available by mid-2017. Nonetheless, the

study was scheduled to continue until a set number of patients perished or April

2018, whichever came first.



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      29.   Under the CLA, if imetelstat failed to meet criteria determined by

Janssen to support continuation of development, or for any other reason, Janssen

could unilaterally discontinue the imetelstat program and terminate the CLA.

Nevertheless, under the CLA, Janssen was required to undertake a primary analysis

of the IMbark study and notify Geron whether it would: (i) maintain the license

rights granted under the CLA and continue the development of imetelstat; or (ii)

discontinue the development of imetelstat and terminate the CLA. Geron announced

that it expected Janssen’s decision by the end of the third quarter of 2018 (i.e.,

September 30, 2018).

      30.   According to the CLA, if Janssen decided to continue with the

collaboration, it would owe Geron a milestone payment of $65 million, with

hundreds of millions of dollars in additional milestone payments possible.

      31.   However, if Janssen decided to terminate the CLA, Geron would face

severe consequences. Geron described some of those consequences as follows:

      •     we would no longer have the right to receive any milestone
            payments or royalties under the Collaboration Agreement;

      •     further development of imetelstat, if any, would be significantly
            delayed or terminated;

      •     we would bear all risks and costs related to any further clinical
            development, manufacturing, regulatory approval and
            commercialization of imetelstat, if any;

      •     we might determine that the commercial potential of imetelstat
            does not warrant further development of imetelstat by us, in


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               which case the development of imetelstat would cease, which
               might cause us to cease operations; [and]

        •      we would need to raise substantial additional capital if we were
               to choose to pursue imetelstat development on our own, or we
               would need to establish alternative collaborations with third
               parties, which might not be possible in a timely manner, or at all,
               or might not be possible on terms acceptable to us, in which case
               it would likely be necessary for us to limit the size or scope of
               the imetelstat development program.

        32.    The JSC conducted a data review of the IMbark study in March 2018.

All of the patients in the IMbark study were taking imetelstat, so the results were not

“blinded,” meaning that the JSC members could see how patients were faring on the

drug. Accordingly, the JSC learned of the co-primary efficacy endpoint results (i.e.,

spleen reduction and TSS results) during that data review, which included an

analysis and review of end point data that had been generated since at least April

2017.

            DEFENDANTS’ MATERIALLY FALSE AND MISLEADING
             STATEMENTS ISSUED DURING THE CLASS PERIOD

        33.    On March 19, 2018, Geron held a conference call with investors,

analysts, and the media to discuss the Company’s fourth quarter and full-year 2017

financial results. During the call, defendant Scarlett discussed the IMbark study at

length, but failed to disclose that the primary efficacy endpoints had not been

satisfied, stating in part:

        This morning I’ll start my remarks with a summary of the results from
        the latest internal data review conducted by Janssen on the IMbark, and


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      an update on the projected timing of the protocol-specified primary
      analysis for IMbark and the subsequent potential continuation decision
      from Janssen. I’ll then conclude with the status of the IMerge trial,
      including a recap of the data that was recently presented at the
      American Society for Hematology or ASH Annual Meeting, that was
      in last December.

            As a reminder, IMbark is a Phase 2 clinical trial designed to test
      2 doses of imetelstat, 9.4 milligrams per kilogram or 4.7 milligrams per
      kilogram, administered every 3 weeks in intermediate-2 or high-risk
      MF patients who are refractory to or have relapsed after treatment with
      the JAK inhibitor. . . .

             In reviewing the data, which was based on a January 2018 data
      cut, the collaboration’s Joint Steering Committee, or JSC, made the
      following observations: first, the safety profile was consistent with
      prior clinical trials of imetelstat in hematologic malignancies and no
      new safety signals were identified; second, outcome measures for
      efficacy, including spleen volume responses and reductions in Total
      Symptom Score remain consistent with the prior data reviews; third,
      with a median follow-up of approximately 19 months as of the
      January 2018 data cut, the median overall survival has not been
      reached in either dosing arm.

            . . . Patients who remain on the treatment phase may continue to
      receive imetelstat, and until the primary analysis, all safety and efficacy
      assessments are being conducted as planned in the protocol, including
      following patients, to the extent possible, until death to enable an
      assessment of overall survival.

            . . . Upon the completion of the protocol-specified primary
      analysis, the main trial will be completed.

      34.    Rather than disclose the failure to reach the study’s primary endpoints,

defendant Scarlett misleadingly highlighted the study’s secondary endpoints related

to survival, claiming that the data review had provided reason to believe imetelstat

increased survivals rates, stating in part:



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            As a third action, the JSC determined that Janssen will amend the
      IMbark protocol to establish an extension phase of the trial to enable
      patients remaining in the treatment phase to continue to receive
      imetelstat per investigator discretion. During the extension phase,
      standard data collection will primarily consist of safety information.
      Patients will be continued to be followed for survival.

             The assessment of survival is important because we believe that
      a new treatment that could confirm improved survival would
      represent a meaningful clinical outcome for patients who are
      relapsed or refractory to the only approved MF treatment today. As
      experience with JAK inhibitors increases, both in the real world and
      clinical trial settings, we know that the majority of MF patients fail
      or stop JAK inhibitor treatment and data from recent literature and
      other sources suggest that the survival of these patients is limited.
             For example, an analysis of real world data conducted by Janssen
      and presented at ASH in 2016 reviewed treatment patterns and
      outcomes of MF patients from 2 U.S. medical claims databases. This
      analysis suggested that once patients fail or discontinue ruxolitinib,
      mean overall survival is approximately 7 months. Three other recently
      published and independent papers describing outcomes of MF patients
      after discontinuing JAK inhibitor treatment, either in the context of a
      clinical trial or through commercial supply, estimated median overall
      survival of approximately 14, 15 or 16 months, respectively. Thus,
      imetelstat potentially could address a significant unmet medical need if
      its use is associated with survival that is meaningfully longer than 14 to
      16 months.

      35.   On March 27, 2018, defendant Scarlett made a presentation at the 17th

Annual Needham Healthcare Conference in New York City. At the presentation, he

introduced a slide entitled “IMbark Internal Data Reviews, Findings to Date.” The

slide, which was also posted on Geron’s website, purported to summarize “Internal

data reviews completed by Janssen in September 2016, April 2017 and March 2018.”

It further stated: “Activity within multiple outcome measures observed, suggesting



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clinical benefit . . . .” The purportedly positive measures listed included “Range of

reductions in spleen volume” and “Decreases in Total Symptoms Score (TSS).” The

slide also stated: “Median OS not reached in either dosing arm (with median follow-

up of ~19 months at January 2018 data cut).”

      36.    On May 10, 2018, Geron filed with the SEC its Form 10-Q for the first

quarter of 2018, ended March 31, 2018, which was signed by defendant Bloom and

certified under the Sarbanes-Oxley Act of 2002 (“SOX”) by defendants Scarlett and

Bloom, who attested to the Form 10-Q’s accuracy. The Form 10-Q stated: “The JSC

concluded that as of January 2018, median follow up was approximately 19 months,

and median overall survival had not been reached in either dosing arm.”

      37.    On July 31, 2018, Geron filed with the SEC its Form 10-Q for the

second quarter of 2018, ended June 30, 2018, which was signed by defendant Bloom

and certified under SOX by defendants Scarlett and Bloom, who attested to the Form

10-Q’s accuracy. The Form 10-Q stated: “The JSC also concluded that as of the

January 2018 data cut-off date, with a median follow up of approximately 19

months, median overall survival had not been reached in either dosing arm.”

      38.    The statements referenced above in ¶¶33-37 were materially false and

misleading when made, as they failed to disclose and misrepresented the following

adverse facts that were then known to defendants or recklessly disregarded by them:




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             (a)      the March 2018 JSC internal study review and earlier end-point

data, which had been gathered since at least April 2017, had demonstrated that the

IMbark study failed to achieve its primary endpoints related to reductions in spleen

volume and TSS;

             (b)      the secondary outcome measures and survival rates defendants

chose to selectively publicize did not overcome the failure of the IMbark study to

achieve its primary endpoints;

             (c)      as a result, there was a significantly increased risk and high

likelihood that Janssen would decline to continue its collaboration with Geron on

imetelstat development; and

             (d)      as a result, defendants’ positive statements regarding imetelstat

and the IMbark trial during the Class Period were false and misleading and/or lacked

a reasonable basis.

      39.    On March 27, 2018, Feuerstein, a veteran biotech journalist, published

an article in STAT News, an online life sciences publication entitled “The top-

performing biotech stock this year has surged on flimsy data.” In the article,

Feuerstein noted that Geron had failed to provide primary end point data from the

IMbark trial despite the fact that such data had been in the Company’s possession

for nearly one year, and that, as a result, he questioned the efficacy of imetelstat and

the purportedly positive trial results provided by defendants.



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       40.    On this news, the price of Geron common stock declined 29% over two

trading days on abnormally high volume of over 30 million shares traded. However,

the price of Geron securities remained artificially inflated because defendants had

failed to disclose the adverse facts listed in ¶38, above.

       41.    Then, on September 27, 2018, the Company issued a press release

admitting that IMbark had failed to reach its primary end points. The press release

stated in part:

       IMbark Protocol-Specified Primary Analysis Highlights

              IMbark was designed as a Phase 2 clinical trial to evaluate two
       starting dose levels of imetelstat (either 4.7 mg/kg or 9.4 mg/kg
       administered by intravenous infusion every three weeks) in
       approximately 200 patients with Intermediate-2 or High-risk
       myelofibrosis (MF) who have relapsed after or are refractory to prior
       treatment with a JAK inhibitor.

             The co-primary efficacy endpoints for the trial are spleen
       response rate, defined as the proportion of patients who achieve a ≥35%
       reduction in spleen volume assessed by imaging; and symptom
       response rate, defined as the proportion of patients who achieve a ≥50%
       reduction in Total Symptom Score, at 24 weeks. Key secondary
       endpoints are safety and overall survival.

             For the 9.4 mg/kg dosing arm (n=59), highlights from the
       primary analysis included a spleen response rate of 10% and a symptom
       response rate of 32%. No patients achieved complete remission, and
       one patient achieved partial remission.

       42.    Thus, the IMbark study showed only a 10% decrease in spleen volume,

when 35% or more was required for success, and a 32% reduction in TSS, when at

least a 50% reduction was needed.



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      43.    Additionally, the Company’s press release disclosed that Janssen had

terminated its partnership with Geron for the development of imetelstat.

      44.    The same day the full results were finally disclosed, Feuerstein

published another article on STAT News concerning Geron. The article stated in part

that: “Back in March, Geron CEO John Scarlett ignited a steep run higher in the

stock price with a suggestion, uttered on a conference call, that imetelstat was

prolonging survival in patients with the bone marrow disorder myelofibrosis.”

Feuerstein characterized this move as a “bait-and-switch tactic,” continuing in part:

      The Phase 2 study was designed primarily to determine if imetelstat
      could shrink spleens and improve myelofibrosis disease symptoms.
      Geron and Janssen were keeping these data hidden, even though they
      were readily available. Shifting attention to survival was a
      smokescreen.

            On Thursday, we learned why. The spleen response rate to
      imetelstat in the myelofibrosis study was a disappointing 10 percent.

      45.    Feuerstein noted in the article that “Geron raised $84 million through

highly dilutive stock sales in the second quarter,” ultimately concluding that,

“[t]aking advantage of the hyped-up stock price earlier this year was a fiscally smart

move, although that’s small consolation to shareholders left holding the bag.”

      46.    As a result of these disclosures, the price of Geron common stock

plummeted $3.92 per share to close at $2.31 per share on September 27, 2018, a 63%

decline, on extremely high trading volume of over 84 million shares traded.




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      47.    As a result of defendants’ wrongful acts and omissions, plaintiff and

the Class purchased Geron securities at artificially inflated prices, suffering

significant losses, and were damaged thereby.

                  ADDITIONAL SCIENTER ALLEGATIONS

      48.    As alleged herein, Geron and the Individual Defendants acted with

scienter in that they: (i) knew that the public documents and statements issued or

disseminated in the name of the Company were materially false and misleading; (ii)

knew that such statements or documents would be issued or disseminated to the

investing public; and (iii) knowingly and substantially participated or acquiesced in

the issuance or dissemination of such statements or documents as primary violations

of the federal securities laws. As set forth herein in detail, these defendants, by virtue

of their receipt of information reflecting the true facts regarding Geron and the

imetelstat trials, their control over and/or receipt and/or modification of Geron’s

allegedly materially misleading statements, and/or their associations with the

Company that made them privy to confidential proprietary information concerning

Geron participated in the fraudulent scheme alleged herein.

      49.    The Individual Defendants personally oversaw the Company’s

partnership with Janssen and the development of imetelstat and held themselves out

to investors as the Company representatives most familiar with these issues. In

addition, the Individual Defendants also had the motive and opportunity to commit



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fraud. During the Class Period, the Individual Defendants authorized the Company

to sell up to $100 million worth of Geron stock. Tens of millions of dollars’ worth

of Geron stock was sold to investors at artificially inflated prices prior to the truth

regarding imetelstat being revealed to the market. This represented necessary

financing for the Company in light of the pending dissolution of the Janssen

partnership. As defendant Scarlett acknowledged, “Geron has one major asset,

which is imetelstat. . . . [W]e are dependent really on the one asset for the value of

the company.” Similarly, as Geron stated in its SEC filings during the Class Period,

“Our ability to raise additional funds will be severely impaired in the event of . . .

imetelstat failing to meet the criteria determined by Janssen to support an affirmative

Continuation Decision[.]”

                 LOSS CAUSATION AND ECONOMIC LOSS

      50.    During the Class Period, as detailed herein, defendants engaged in a

scheme to deceive the market and a course of conduct that artificially inflated the

price of Geron securities and operated as a fraud or deceit on purchasers of Geron

securities. As detailed above, when the truth about defendants’ misconduct was

revealed, the value of the Company’s securities declined precipitously as the prior

artificial inflation no longer propped up the price of Geron securities. The declines

in the price of Geron securities were the direct result of the nature and extent of

defendants’ fraud finally being revealed to investors and the market. The timing and



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magnitude of these price declines negate any inference that the losses suffered by

plaintiff and other members of the Class were caused by changed market conditions,

macroeconomic or industry factors, or Company-specific facts unrelated to

defendants’ fraudulent conduct. The economic loss, i.e., damages, suffered by

plaintiff and other Class members was a direct result of defendants’ fraudulent

scheme to artificially inflate the prices of the Company’s securities and the

subsequent significant declines in the value of the Company’s securities when

defendants’ prior misrepresentations and other fraudulent conduct were revealed.

      51.    At all relevant times, defendants’ materially false and misleading

statements or omissions alleged herein directly or proximately caused the damages

suffered by plaintiff and other Class members. Those statements were materially

false and misleading through their failure to disclose a true and accurate picture of

Geron’s business and financial condition, as alleged herein. Throughout the Class

Period, defendants issued materially false and misleading statements and omitted

material facts necessary to make the statements made not false or misleading,

causing the price of Geron securities to be artificially inflated. Plaintiff and other

Class members purchased Geron securities at those artificially inflated prices,

causing them to suffer damages as complained of herein.




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            APPLICABILITY OF PRESUMPTION OF RELIANCE

      52.    Plaintiff and the Class are entitled to a presumption of reliance under

Affiliated Ute Citizens v. United States, 406 U.S. 128 (1972), because the claims

asserted herein against defendants are predicated upon omissions of material fact for

which there was a duty to disclose.

      53.    Plaintiff and the Class are also entitled to a presumption of reliance

pursuant to Basic Inc. v. Levinson, 485 U.S. 224 (1988), and the fraud-on-the-market

doctrine because the market for Geron securities was an efficient market at all

relevant times by virtue of the following factors, among others:

             (a)   Geron common stock met the requirements for listing and was

listed and actively traded on Nasdaq, a highly efficient market;

             (b)   Geron regularly communicated with public investors via

established market communication mechanisms, including through regular

dissemination of press releases on the national circuits of major newswire services

and other wide-ranging public disclosures, such as communications with the

financial press and other similar reporting services; and

             (c)   Geron was followed by a number of securities analysts employed

by major brokerage firms who wrote reports that were distributed to the sales force

and certain customers of their respective brokerage firms. These reports were

publicly available and entered the public marketplace.



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      54.    As a result of the foregoing, the market for Geron securities promptly

incorporated current information regarding the Company from publicly available

sources and reflected such information in the prices of the securities. Under these

circumstances, all those who transacted in Geron securities during the Class Period

suffered similar injury through their transactions in the securities at artificially

inflated prices and a presumption of reliance applies.

      55.    Without knowledge of the misrepresented or omitted material facts,

plaintiff and other Class members purchased Geron securities between the time

defendants misrepresented and failed to disclose material facts and the time the true

facts were disclosed. Accordingly, plaintiff and other Class members relied, and are

entitled to have relied, upon the integrity of the market prices for Geron securities,

and are entitled to a presumption of reliance on defendants’ materially false and

misleading statements and omissions during the Class Period.

                       CLASS ACTION ALLEGATIONS

      56.    Plaintiff brings this action as a class action pursuant to Rule 23 of the

Federal Rules of Civil Procedure on behalf of all persons who purchased Geron

securities during the Class Period (the “Class”). Excluded from the Class are

defendants and their immediate families, the directors and officers of Geron and their

immediate families, and their legal representatives, heirs, successors or assigns, and

any entity in which defendants have or had a controlling interest.



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       57.      The members of the Class are so numerous that joinder of all members

is impracticable. While the exact number of Class members is unknown to plaintiff

at this time and can only be ascertained through appropriate discovery, plaintiff

believes that there are hundreds or thousands of members in the proposed Class

located geographically throughout the country.              Joinder would be highly

impracticable. Record owners and other members of the Class may be identified

from records maintained by Geron or its transfer agent and may be notified of the

pendency of this action by mail, using the form of notice similar to that customarily

used in securities class actions.

       58.      Plaintiff’s claims are typical of the claims of the members of the Class

as all members of the Class are similarly affected by defendants’ wrongful conduct

in violation of the federal laws complained of herein.

      59.       Plaintiff will fairly and adequately protect the interests of the members

of the Class and has retained counsel competent and experienced in class and

securities litigation. Plaintiff has no interests antagonistic to or in conflict with those

of the Class.

       60.      Common questions of law and fact exist as to all members of the Class

and predominate over any questions solely affecting individual members of the

Class. Among the questions of law and fact common to the Class are:




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             (a)    whether the federal securities laws were violated by defendants’

acts as alleged herein;

             (b)    whether defendants acted knowingly or with deliberate

recklessness in issuing false and misleading statements;

             (c)    whether the prices of Geron securities during the Class Period

were artificially inflated because of defendants’ conduct as complained of herein;

and

             (d)    whether the members of the Class have sustained damages and,

if so, the proper measure of damages.

      61.    A class action is superior to all other available methods for the fair and

efficient adjudication of this controversy since joinder of all members is

impracticable. Furthermore, as the damages suffered by individual Class members

may be relatively small, the expense and burden of individual litigation make it

impossible for members of the Class to individually redress the wrongs done to them.

There will be no difficulty in the management of this action as a class action.

                                     COUNT I

             For Violation of §10(b) of the 1934 Act and Rule 10b-5
                            Against All Defendants
      62.    Plaintiff incorporates ¶¶1-61 by reference.

      63.    During the Class Period, defendants disseminated or approved the false

statements specified above, which they knew or recklessly disregarded were


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misleading in that they contained misrepresentations and failed to disclose material

facts necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading.

      64.    Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:

             (a)    employed devices, schemes, and artifices to defraud;

             (b)    made untrue statements of material fact or omitted to state

material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading; or

             (c)    engaged in acts, practices, and a course of business that operated

as a fraud or deceit upon plaintiff and others similarly situated in connection with

their purchases of Geron securities during the Class Period.

      65.    Plaintiff and the Class have suffered damages in that, in reliance on the

integrity of the market, they paid artificially inflated prices for Geron securities.

Plaintiff and the Class would not have purchased Geron securities at the prices they

paid, or at all, had they been aware that the market prices were artificially and falsely

inflated by defendants’ misleading statements.

      66.    As a direct and proximate result of defendants’ wrongful conduct,

plaintiff and the other members of the Class suffered damages in connection with

their purchases of Geron securities during the Class Period.




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                                    COUNT II

                     For Violation of §20(a) of the 1934 Act
                            Against All Defendants
      67.    Plaintiff incorporates ¶¶1-66 by reference.

      68.    During the Class Period, the Individual Defendants acted as controlling

persons of Geron within the meaning of §20(a) of the 1934 Act. By virtue of their

positions and power to control public statements by and about Geron, the Individual

Defendants had the power and ability to control the actions of Geron and its

employees. Geron controlled the Individual Defendants and its other officers and

employees. By reason of such conduct, defendants are liable pursuant to §20(a) of

the 1934 Act.

                              PRAYER FOR RELIEF

      WHEREFORE, plaintiff prays for relief and judgment as follows:

      A.     Determining that this action is a proper class action, designating

plaintiff as Lead Plaintiff, and certifying plaintiff as a Class representative under

Rule 23 of the Federal Rules of Civil Procedure and plaintiff’s counsel as Lead

Counsel;

      B.     Awarding compensatory damages in favor of plaintiff and the other

Class members against all defendants, jointly and severally, for all damages

sustained as a result of defendants’ wrongdoing, in an amount to be proven at trial,

including interest thereon;


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      C.     Awarding plaintiff and the Class their reasonable costs and expenses

incurred in this action, including counsel fees and expert fees; and

      D.     Awarding such equitable/injunctive or other relief as deemed

appropriate by the Court.

                                 JURY DEMAND

      Plaintiff demands a trial by jury.

 DATED: March 5, 2020                       SEEGER WEISS LLP
                                            CHRISTOPHER A. SEEGER
                                            CHRISTOPHER L. AYERS


                                                     /s/ Christopher A. Seeger
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